From: Shane R. Wrucke

To: James Wood; Kurt Svatek; Stephen Kirby; Cory Wex
Subject: For your review.
Date: Tuesday, October 6, 2020 3:52:40 PM
Attachments: Civil Unrest Tactical Brief. pptx

10-07-20 Tactical Civil Unrest Plan.

Rules of Engagement - Use of Force. pdf
Chem LL Deployment Log.pdf

| know this is 11" hour, but things have been changing hour by hour.

See attachments for your review. Feedback welcomed.

Shane R. Wrucke
Lieutenant — Investigative Division
Wauwatosa Police Department

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Wauwatosa, WI 53226

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E-Mail: swrucke@wauwatosa.net

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